                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA, ex rel.,                   )
MARJORIE PRATHER,                                    )
                                                     )
               Plaintiffs,                           )       CIVIL CASE NO.: 3:12-cv-00764
                                                     )
       v.                                            )       JUDGE ALETA A. TRAUGER
                                                     )
BROOKDALE SENIOR LIVING                              )
COMMUNITIES, INC., et al,                            )
                                                     )
               Defendants.                           )


         THE UNITED STATES’ STATEMENT OF INTEREST REGARDING
       DEFENDANTS’ MOTION TO DISMISS THIRD AMENDED COMPLAINT

       The United States submits this Statement of Interest, pursuant to 28 U.S.C. § 517, to

address arguments in Defendants’ Memorandum in Support of Motion to Dismiss the Third

Amended Complaint (DE 103) regarding the import of the Supreme Court’s decision in

Universal Health Services v. United States ex rel. Escobar, 136 S. Ct. 1989 (2016), on the

application of the materiality element of the False Claims Act to the allegations in Relator’s

Third Amended Complaint (TAC).

       The United States submits this brief to respond to Defendants’ argument that the TAC

does not sufficiently plead materiality because, Defendants contend, (1) the certification timing

requirements in 42 C.F.R. § 424.22(a)(2) are not labeled a condition of payment, as set forth in

section I.B.1. of Defendants’ Memorandum; and (2) the TAC does not allege that the

Government has ever denied claims based on the timing of physician signatures on home health

certifications, as set forth in section I.B.2 of Defendants’ Memorandum. The United States




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takes no position at this time as to the overall merits of this case or the sufficiency of the

Relator’s TAC.

I.       The Supreme Court’s Escobar Decision Clarified That a Variety of Factors Are
         Relevant to the FCA’s Materiality Inquiry and That No One Factor Is
         Automatically Dispositive

         The Escobar decision reaffirmed that the “term ‘material’ means having a natural

tendency to influence, or be capable of influencing, the payment or receipt of money or

property.” Escobar, 136 S. Ct. at 2002. The Court explained that the focus of the materiality

inquiry is “the effect on the likely or actual behavior of the recipient of the alleged

misrepresentation.” Id. at 2002. The Court further held that this inquiry can be undertaken from

either the perspective of a “reasonable person” or the particular defendant: a matter is material

(1) “‘if a reasonable [person] would attach importance to it in determining [a] choice of action in

the transaction’”; or (2) if the defendant knew or had reason to know that the recipient of the

representation attaches importance to the specific matter ‘in determining [a] choice of action,’”

regardless of whether a reasonable person would do so. Id. at 2002-2003 (quoting in part

Restatement (Second) of Torts § 538, at 80)).

         The Supreme Court explained that in applying this standard, the label attached to a

particular rule, regulation, or contract term may be relevant, but is not determinative. Thus, the

Court rejected the false dichotomy invoked by some courts between a so-called condition of

participation and a condition of payment: “Section 3729(a)(1)(A) imposes liability on those who

present ‘false or fraudulent claims’ but does not limit such claims to misrepresentations about

express conditions of payment.” Id. at 2001 (citing United States v. Science Applications Int’l

Corp., 626 F.3d 1257, 1268 (D.C. Cir. 2010)); see also id. at 2003 (“the Government’s decision

to expressly identify a provision as a condition of payment is relevant, but not automatically



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dispositive”). Instead, the Supreme Court identified a variety of additional factors bearing on the

materiality inquiry, including, whether the violation goes to the “essence of the bargain,” id. at

2003 n.5 (quoting Junius Constr. Co. v. Cohen, 257 N.Y. 393, 400 (1931)), whether the violation

is significant or “minor or insubstantial,” id. at 2003, and the actions the government took in this

or other cases where the government had knowledge of similar violations. Id. at 2003-2004. In

addition, the Court stressed that no one factor is automatically dispositive. Id. at 2001 (citing

Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 39 (2011) for the proposition that

“materiality cannot rest on a ‘single fact or occurrence as always determinative’”); see also

United States ex rel. Escobar v. Universal Health Servs., Inc., 842 F.3d 103, 109 (1st Cir. 2016)

(on remand from the Supreme Court, the First Circuit stated that “Escobar makes clear that

courts are to conduct a holistic approach to determining materiality in connection with a payment

decision, with no one factor being necessarily dispositive.”), and United States v. Quicken Loans,

Inc., 2017 WL 930039, *17 (E.D. Mich, March 9, 2017) (“Declining to provide any sort of

bright-line test for materiality, the Supreme Court [in Escobar] endorsed a more holistic

approach[.]”). Thus, materiality is a flexible standard that can be met in a variety of

circumstances. Id. at 2001-03.

II.    The Regulatory Scheme Supports False Claims Act Materiality

       Defendants concede that the regulatory requirement that a physician certify a patient’s

eligibility for home health services is material to the government’s decision to pay for Medicare

home health services. (DE 103 at 12, PageID # 1590.) The regulation is clear that “Medicare

Part A or Part B pays for home health services only if a physician certifies and recertifies the

content specified in paragraphs (a)(1) and (b)(2) of this section, as appropriate.” 42 C.F.R.

§ 424.22. Yet, Defendants seek refuge from this requirement by trying to differentiate between



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the subparts of 42 C.F.R. § 424.22 that specify the necessary contents of the certification and

those that specify the timing of when the certification must occur. Arguing that only the content

subparts (and not the timing subparts at issue in the TAC) are expressly designated as conditions

of payment, Defendants assert that the timing subparts are not material to the government’s

payment decision: “The language in § 424.22 provides a clear indication that the signature-

timing requirement is not material because the Government did not ‘expressly identify’

§ 424.22(a)(2) as a condition of payment. Escobar, 136 S. Ct. 2003.” (DE 103 at 12;

PageID # 1590).

       Defendants’ reliance on Escobar for this proposition is curious. Although the above-

quote in their Memorandum suggests that the Escobar decision imposed a bright-line rule that a

statutory, regulatory, or contractual requirement must be “expressly identified” as a condition of

payment to be considered a material requirement, Escobar in fact held the exact opposite. Id. at

2001. As outlined above, the Escobar Court rejected the false dichotomy invoked by some

courts between a so-called condition of participation and a condition of payment: “We further

hold that False Claims Act liability for failing to disclose violations of legal requirements does

not turn upon whether those requirements were expressly designated as conditions of payment.

Defendants can be liable for violating requirements even if they were not expressly designated as

conditions of payment.” Id. at 1996. Accordingly, Defendants’ hyper-technical parsing of

42 C.F.R. § 424.22 to suggest that the timing requirements embedded in the regulation are not

material because they are not “expressly designated” as a condition of payment contravenes the

approach adopted by the Supreme Court in Escobar.

       Moreover, a plain reading of this regulatory provision belies the Defendants’ argument

and supports a finding of materiality on at least two of the materiality factors discussed in



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Escobar. The government promulgated this regulation to make clear that compliance with its

physician certification requirement is fundamental (and therefore material) to its payment

decision for Medicare home health care services. As articulated in the government’s prior

statement of interest (DE 66 at 2-6, PageID # 859-863), the regulation concerning physician

certifications of a patient’s eligibility for Medicare’s home health benefit is both labeled a

condition of payment and goes to the “essence of the bargain,” Escobar at 2003 n.5, between a

home health care provider and the Medicare program. Part 424 of Title 42 of the Code of

Federal Regulation is titled “Conditions for Medicare Payment” and the text of this specific

provision clearly concerns a condition of Medicare payment, stating that “Medicare Part A or

Part B pays for home health services only if a physician certifies and recertifies the content

specified in paragraphs (a)(1) and (b)(2) of this section, as appropriate.” 42 C.F.R. § 424.22

(emphasis added). Title 42 C.F.R. § 424.22(a)(2) imposes rules related to timing and signature

for that certification to be valid: “The certification of need for home health services must be

obtained at the time the plan of care is established or as soon thereafter as possible and must be

signed and dated by the physician who establishes the plan.” The timing requirement is §

424.22(a)(2) is no suggestion or description of best practice, but instead states that the

certification “must” be obtained within the specified time period. Otherwise, it would be invalid

and a home health care provider would not have the requisite certification that § 424.22 makes

clear must be obtained to receive Medicare payment for home health services. The statutory

language is clear that the timing requirements are fundamental to the certification requirement,

which in turn is a fundamental part of the bargain between a home health care provider and the

Medicare program. See, e.g., United States ex rel. Prather v. Brookdale Senior Living

Communities, Inc., 838 F.3d 750, 756 (6th Cir. 2016) (“These certifications provide a forward-



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looking projection of medical need at the time the beneficiary's plan of care is established,

ensuring that a patient receives Medicare services only to the extent she needs them.”) (internal

citations omitted).

III.   Escobar Does Not Require an FCA Plaintiff to Plead Prior Government Denials of
       Payment for Similar Violations

       Defendants seek dismissal of Relator’s TAC, in part, because “the TAC does not allege

that CMS has ever denied any claims – whether submitted by Brookdale or by other providers –

based on a violation of § 424.22(a)(2).” (DE 103 at 14, PageID # 1592.) There is no question

that, in Escobar, the Supreme Court indicated that how the government has treated the same or

similar violations is a relevant factor to the materiality inquiry. Escobar, 136 S. Ct. at 2003.

Nonetheless, this is just one of the several non-dispositive materiality factors delineated by the

Supreme Court. Accordingly, the implication in Defendants’ Memorandum that the United

States (or a relator in a declined case such as this) must plead prior government denials of

payment in order to survive a motion to dismiss is plainly incorrect. Nor does Escobar require

the United States (or a relator) to demonstrate that the government would have denied payment if

it had known of the defendants’ conduct (the outcome standard of materiality), see id. at 2002;

Kungys v. U.S., 485 U.S. 759, 771 (1988), or even that the government could have denied

payment. Escobar, 126 S. Ct. at 2004.

       A closer examination of the Supreme Court’s discussion of this factor patently

demonstrates that Escobar did not create such a dispositive pleading requirement:

       [P]roof of materiality can include, but is not necessarily limited to, evidence
       that the defendant knows that the Government consistently refuses to pay claims
       in the mine run of cases based on noncompliance with the particular statutory,
       regulatory, or contractual requirement. Conversely, if the Government pays a
       particular claim in full despite its actual knowledge that certain requirements were
       violated, that is very strong evidence that those requirements are not material. Or,
       if the Government regularly pays a particular type of claim in full despite actual


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       knowledge that certain requirements were violated, and has signaled no change in
       position, that is strong evidence that the requirements are not material.

Escobar, 136 S. Ct. at 2003–04 (emphasis added). The Supreme Court thus found that proof that

the government has refused to pay similar claims is one of several potential forms of proof of

materiality. Moreover, the decision is clear that the government’s decision to pay claims despite

violations of a regulatory requirement is only evidence of a lack of materiality where the

government has “actual knowledge” of the violation. Id. at 2003-04. This type of evidentiary

inquiry is not normally appropriate on a motion to dismiss, where the sole question is whether

the complaint plausibly alleges a violation of the statute. Absent an opportunity for discovery, it

is not reasonable to expect or require detailed allegations from a qui tam relator concerning the

government’s “actual knowledge” and the resulting pattern of action (or inaction) with respect to

the types of violations alleged. Here, there are no allegations in the Relator’s TAC that the

Centers for Medicare and Medicaid Services (CMS) (the relevant government decisionmaker)

knew of the violations alleged here at the time it paid for claims for home health services.

Further, there are no allegations in the TAC that CMS paid a claim for home health services

despite notice at the time that a home health provider had violated the physician certification

timing requirements in 42 C.F.R. § 424.22(a)(2).

       More fundamentally, even where the government has actual knowledge of the

defendant’s wrongful conduct and continues to pay claims, such action does not necessarily

undermine a materiality finding because there are many good reasons, including important public

health and safety considerations, why the government might continue to pay claims in such

circumstances. See United States ex rel. Harrison v. Westinghouse Savannah River Co.,

352 F.3d 908, 917 (observing that the government might have good reason to pay despite the

violation because the contract is “advantageous to the government” or is too far along to


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terminate without excessive costs). The government is charged with ensuring the delivery of

health care to many millions of Americans enrolled in Medicaid, Medicare, and other health

insurance programs. While there are considerations in which the government may properly halt

payments in face of fraudulent conduct, such decisions are necessarily tempered by the need to

ensure adequate access to health care, including considerations such as the unavailability of

similar services from different providers. As a result, courts have long held that FCA liability is

“not automatically exonerated by any overlapping knowledge by government officials.” United

States ex rel. Kreindler v. United Tech. Corp., 985 F.2d 1148, 1156 (2d Cir. 1993). Likewise,

courts have recognized that “Congress intended to allow the government to choose from a

variety of remedies, both statutory and administrative, to combat fraud.” United States ex rel.

Onnen v. Sioux Falls Indep. Sch. Dist. No. 4905, 688 F.3d 410, 414-15 (8th Cir. 2012). Nothing

in Escobar suggests that the government must always initiate proceedings to recoup payments

previously made in order to establish that certain types of violations are material to payment.

       Under Escobar the governments’ failure to withhold payment upon learning of regulatory

violations is not a dispositive factor in determining the materiality of those violations. Just as the

Court explained that “the Government’s decision to expressly designate a provision as a

condition of payment is relevant but not automatically dispositive,” it also recognized that

evidence that “the Government pays a particular claim in full despite its actual knowledge that

certain requirements were violated” is not dispositive with respect to materiality. See Escobar,

136 S. Ct. at 2003-04 (stating that such a showing would constitute “strong evidence” that a

violation is not material). In thus recognizing that the public interest may require the

government to pay certain claims despite knowledge of material violations and identifying a

variety of factors relevant to the materiality inquiry, the Supreme Court made at least one thing



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clear: “materiality cannot rest on a single fact or occurrence as always determinative.” Id. at

2001.

        Thus, to the extent that it suggests that Relator’s TAC must be dismissed based on the

failure to plead prior payment denials by the government based on violations of the operative

regulation, the approach taken in Defendants’ Memorandum is inconsistent with the multi-factor

inquiry endorsed by the Supreme Court for assessing materiality. Since Escobar, courts have

rejected similar attempts to dismiss pleadings for failure to allege prior government denials of

payment. In subsequent proceedings in Escobar itself, the relator’s complaint was not dismissed

despite failing to plead any prior government payment denials for similar violations to the ones

alleged in that case. United States ex rel. Escobar v. Universal Health Servs., Inc., 842 F.3d 103,

112 (1st Cir. 2016) (“[T]here is no evidence in the complaint that MassHealth, the entity paying

Medicaid claims, had actual knowledge of any of these allegations (much less their veracity) as it

paid UHS's claims. Because we find no evidence that MassHealth had actual knowledge of the

violations at the time it paid the claims at issue, we need not decide whether actual knowledge of

the violations would in fact be sufficiently strong evidence that the violations were not material

to the government’s payment decision so as to support a motion to dismiss in this case.”). Courts

within the Sixth Circuit have also rejected the argument advanced in Defendant’s Memorandum

that pleading that the government has previously denied payment for similar allegations is

required to demonstrate materiality at the pleading stage. In United States v. Quicken Loans, a

district court denied a defendant’s motion to dismiss despite the fact that the government’s prior

treatment of similar allegations was not alleged in the complaint. United States v. Quicken

Loans, 2017 WL 930039 (E.D. Mich. March 9, 2017) (“Nor is there any allegation that Quicken

knew that the Government consistently refused to pay claims in the mine run of cases based on



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noncompliance with the certification requirement. However, there is also no evidence to suggest

that HUD paid the claims at issue in this case despite actual knowledge of the violations.”). As

is appropriate in this case as well, these courts recognized that the Escobar decision deemed

prior government action as one of several factors to be considered in a holistic materiality

analysis rather than as a requirement that must be pled in order to survive a motion to dismiss.

                                         CONCLUSION

       For the foregoing reasons, the United States respectfully asks the Court to reject the

Defendants’ arguments that are addressed in this Statement of Interest. The United States takes

no position on other arguments made. The United States also asks that if the Court dismisses the

relator’s Complaint because it is inadequately plead that it make such dismissal without

prejudice to the United States.

                                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was filed and served upon the following
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